        Case 8:04-cr-00486-SDM-MAP Document 121 Filed 08/17/06 Page 1 of 7 PageID 361
A 0 245B (Rev 06105) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:        8:04-cr-486-T-23MAP
                                                                      USM NUMBER:         48069-018
VS.


AMY SAMELSON,
  n/Wa AMY KOLBE
                                                                      Defendant's Attorney: Marcelino J. Huerta, 111, ret

THE DEFENDANT:

X pleaded guilty to count TWO of the Superseding Information.

TITLE & SECTION                           NATURE OF OFFENSE                             OFFENSE ENDED                       COUNT

 18 U.S.C. 5 371                          Conspiracy to Commit Mail Fraud               February 2002                       TWO


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name. residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution. the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                        Date of Imposition of Sentence: August 14, 2006




                                                                                                                                    w
                                                                                            STEVEN D. MERRYDAY
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE: August       17',    2006
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A 0 245B (Rev. 06/05)Sheet 4 - Probation (Judgment in a Criminal Case)

Defendant:            AMY SAMELSON, dkla AMY KOLBE                                                          Judgment - Page 2of 5
Case No. :            8:04-cr486-T-23MAP
                                                                         PROBATION

The defendant is hereby placed on probation for a term of FORTY-EIGHT (48) MONTHS as to Count Two of the Superseding
Information.

         While on supervised release. the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The above drug testing condition is waived, based on the court's determination that the defendant poses a low risk of
           future substance abuse.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five
           days of each month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer:

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
           as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or personal. history. or characteristics and sllall permit the probation officer to make such notifications and to confirm the
           defendant s compl~ancewith such not~ficatlonrequirement.
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A 0 245B (Rev 06/05) Sheet 4C - Probation (Judgment in a Criminal Case)

Defendant:           AMY SAMELSON, n/Wa AMY KOLBE                                                     Judgment - Page 3 of 5
Case No. :           8:04-cr-486-T-23MAP




                                              SPECLAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:

-
X          The defendant shall participate in the Home Detention program for a period of NINE (9) MOXIIIS. During this time,
           defendant will remain at defendant's place of residence except for employment and other activities approved in advance by
           the defendant's Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use
           in the Middle District of Florida, which may include the requirement to wear an electronic monitoring device and to follow
           electronic monitoring procedures specified by the Probation Officer. Further, the defendant shall be required to contribute
           to the costs of services for such monitoring not to exceed an amount determined reasonable by the Probation Officer based
           on ability to pay (or availability of third party payment) and in conformance with the Probation Office's Sliding Scale for
           Electronic Monitoring Services.

X
-          Until such time as the restitution is paid in full, the defendant shall be prohibited from incurring new credit charges, opening
           additional lines of credit, acquisitions or obligating herself for any major purchases without approval of the probation officer.

-
X          The defendant shall provide the probation officer access to any requested financial information.
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A 0 2458 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           AMY SAMELSON, n/k/a AMY KOLBE                                                             Judgment - Page 4 of 5
Case No. :           8:04-cr-486-T-23MAP


                                                 CRIMINAL MONETARY PENALTIES


           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment                                 Fine                         Total Restitution


           Totals:              $100.00                                    $ waived                     $488,636.10



-          The determination of restitution is deferred until                   .    An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.

-          The defendant must make restitution (including colninunity restitution) to the following payees in the amount listed
           below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 5
           3664(i), all non-federal victims must be paid before the United States.


Name of Pavee                                         Total Loss*                     Restitution Ordered              Prioritv or Percentage

Home Star                                                                             $ 488,636.10
Attn: Gibbons, Del Deo, Griffenger
& Vecchione, P.C., in trust for Opteum
Financial Services, LLC and its
Successors & Assigns and/or future
owners
One Riverfront Plaza
Newark, New Jersey 07 102-5497

                                Totals:


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fme or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and dezult, pursuant to 18 U.S.C. 8 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.

           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters lO9A, 110, 11OA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 2493 (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            AMY SAMELSON, n/Wa AMY KOLBE                                                   Judgment - Page 5 of 5-
Case No. :            8:M-cr-486-T-23MAP



                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

             X        Lump sum payment of $ 100.00 (special assessment) due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
           -          Payment to begin immediately (may be combined with -C , -D, or -F below); or
             X        Restitution payment in equal monthly installments of $ 100.00, see F below
           -          Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
           -          Payment during the term of supervised release will commence within                        (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment
                      the defendant's ability to pay at that time, or
             X        Special instructions regarding the payment of criminal monetary penalties:
                      At any time during the course of supervision. the victim, the government, or the defendant, may notify the
                      Court of a material change in the defendant's ability to pay, and the Court may adjust the payment schedule
                      accordingly.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
iureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-
X          Joint and Several:
           Amy Samelson, n/k/a Am Kolbe (3); Case No. 8:04-cr-486-T-23MAP; Amount: $488,636.10
                                             &
           Todd A. Kolbe (1): Case o. 8:04-cr-486-T-23MAP; Amount: $1,782,019.47
           Kirk McVey (2); Case No. 8:04-cr-486-T-23MAP; Amount: $747,147.53
           Kelly Abercrombie (1); Case No. 8:05-cr-342-T-24TGW
           Taya Parodo (3); Case No. 8:05-cr-342-T-24TGW
           Mary Bolan (4); Case No. 8:05-cr-342-T-24TGW

-          The defendant shall pay the cost of prosecution.
           The defendant shall pay the following court cost(s):
X
-          The defendant shall forfeit the defendant's interest in the following property to the United States:
Pursuant to the Forfeiture Money Judgment in the amount of $488,636.10, 'ointly and severally with co-conspirators, Todd
A. Kolbe and Kirk McVey in Case No. 8:04-cr-486-T-23MAP; as wed as co-conspirators Kelly Abercrombie, Taya
Parodo, and Mary Bolan in Case No. 8:05-cr-342-T-24TGW

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

                                           :   Case No. 8:04-cr-486-T-23MAP

 AMY KOLBE, aka AMY SAMUELSON, :

        Defendant.


                           FORFEITURE MONEY JUDGMENT

        THIS CAUSE comes before the Court on motion of the United States for entry of

 a Forfeiture Money Judgment. The Court, being fully advised in the premises, finds that

 as a result of her participation in the conspiracy to commit mail fraud and wire fraud

 offenses in violation of 18 U.S.C. § 371, involving Home Star Mortgage Services, LLC,

 as charged in Count Two of the Superseding Information, to which defendant Amy

 Kolbe pled guilty, defendant Amy Kolbe obtained proceeds in the amount of

 $   49%,
        b3b.p               . Accordingly, it is hereby

        ORDERED, ADJUDGED, and DECREED that the United States' motion is

 GRANTED.

        It is FURTHER ORDERED that, based on her participation in the conspiracy to

 commit mail fraud and wire fraud conspiracy in violation of 18 U.S.C. § 371, charged in

 Count Two of the Superseding Information, defendant Amy Kolbe is jointly and severally

 liable to the United States of America, with defendants Todd A. Kolbe, Kirk McVey, Kelly

 Abercrombie, Taya Parodo, and Mary Bolan for a forfeiture money judgment in the

 amount of $   q 8 f i b 3b. I 0    pursuant to the provisions of 18 U.S.C. §
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  981(a)(l)(C),28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b).

        DONE and ORDERED in Chambers, in Tampa, Florida, this       /ba   day of




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                                                HON. STEVEN D. MERRYDAY
                                                UNITED STATES DISTRICT JUDGE

  Copies to:   Tonya L. Shotwell, AUSA
               Attorneys of record
